Exhibit 13

USWGO
QANON // DRAIN THE SWAMP

   

PETITION FOR WRIT OF HABEAS CORPUS
MARTINSVILLE GENERAL DISTRICT COURT CASE NO. C18-3138
MARTINSVILLE CIRCUIT COURT CASE NO. CR19000009-00

Exhibit in attachment to “BRIEF AND EXHIBITS IN SUPPORT OF PETITION FOR
WRIT OF HABEAS CORPUS”

Case 1:13-cr-004325-TDS Document 221-14 Filed 11/20/19 Page 1 of 18
Brian David Hill’s grandmother’s notes are in bold and underlined from the
transcript on 9-12-2019: from Stella Forinash

RAMASWAMY

Page 68 And the Court has also heard testimony that there were other reports of a
naked man in a stocking cap, and he's shown wearing a stocking cap prior to this, and
that there were no such reports after Mr. Hill's arrest.

Would this not be considered hear say?_ The police did not say that it was Brian,
did not say it wasn’t. He did say that there were a couple more to his knowledge
after this, but they were not Brian. Don’t they sell millions of stocking caps?
I’ve got several in my coat closet. My husband’s grandson wore one at all times
in the summer. See page 28 of the transcript. Ramaswamy lied when he said
that there was no such reports after Mr. Hill’s arrest. See what Police Jones said
on page 28.

Sgt Jones
Page 28 Q Did you get similar calls after Mr. Hill was arrested in this case?

A We've had, | know, two other calls for indecent exposure incidents, but they were
both identified as not being Mr. Hill.

Page 30 Ms Pryor: Cross-Examination
Page 32 Q And did you tell him that you were police at the time?

Ado not recall if | actually said | was police or not when | told him to stop; at which
point, he went straight into the woods, and | began chasing him.

(He did not tell Brian that he was a police he told the magistrate judge during the
initial arrest). Brian was not charged with running from police because Brian
was not told that it was a policeman who told Brian to stop.

The policeman said that Brian told him he had autism and told him that he could
look at the camera. Why wasn’t a family member, attorney or a professional in
autism called before the police looked at the camera at the hospital? Hospital
records clearly state that Brian is an insulin dependent diabetic, why didn’t the
hospital check Brian’s blood glucose that night? Why is there no hospital
records of any blood test that night? Hospital records clearly state that Brian

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has autism too. Someone with insulin dependent diabetes and autism alone in
the nude in the middle of the night, and there are no blood tests taken by the

hospital and the hospital doesn’t keep him for observation is strange.
Copies of letters Brian’s mom received a few months before this episode.
Photos of Brian’s fireplace due to carbon monoxide exposure.

PDF’s about Autism attached.

Q Okay. And did you investigate whether he -- whether there was some threat to his
family or anything?

A Talking with him, the time frame didn't really add up to me at that point. We made
contact with his -- tried to make contact with his mother that night. | don't know if
anybody actually spoke to her. { don't recall.

A policeman came to the house to tell Brian’s mom that Brian was in the hospital
at abt 4 in the morning. No one questioned Brian’s mom or grandparents that
day. Police told Brian’s family about Brian being in the nude and taking photos
of himself, and they were arresting Brian. Brian’s family was in shock.

Page 34 Q Okay. But as part of your investigation, have you been able to find out
whether there were some threatening matters that was sent to him or his family?

A | have not heard anything of that, no.

Q But do you -- but you didn't do the investigation?

A No.

Q Did Mr. Hill -- when you approached him, did he tell you that he had autism?
A He did.

Q And do you guys -- does your -- | would say does your - does the department train
you on how to approach someone with autism?

A We deal with some academy-wise and not much follow-up after that.

NOTE: Are there any laws that the police are supposed to provide aids before

questioning someone with autism? Is autism, insulin dependent diabetes and

OCD covered under the Americans with Disabilities Act where the police are
supposed to obtain supports? They never called Brian’s mom to ask about

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autism or if there were threats made, Answer to both would have been “Yes”

with proof. _Is it illegal to take nude photos of oneself? Did the police not say
that Brian told him he had autism, then told police that he could look at the
camera? Did the police say that this camera was in the backpack? __| think 1

heard something about Brian smiling in the photos. When someone is nervous,
is laughing part of being nervous? Does someone with autism laugh or smile at
inappropriate times (is this one of the characteristics of someone with autism

that is listed)?

THE WITNESS: The original call came in at 3:15, and | had Mr. Hill in custody at
3:22.

Brian was arrested on September 21, 2018 and was in the Martinsville, VA {ail

until the day after his state case (3 months — if Piedmont had found a home for

Brian, NC, Middle district had issued a warrant for his arrest due to the probation
violation in November, 2018 (Nov. ~ May, 2019) is 6 months. According to

Virginia state law there has to be intent as well as being obscene. Due to the

carbon monoxide and autism and the threat to take photos or mom will be killed
and the fact that Brian was not being obscene according to the police as well as
the photos do not show that he was. The only report that night was someone
who called at 3:12 AM that someone was running down the trail_in the nude.

That call was more concern. When someone is running, that is not being
obscene, more someone who is panic and scared. The police had Brian in hand
cuffs within 10 minutes from that call. Only the police saw Brian and the person
in the car who saw someone running so called the police.

It appears that Brian was confused and didn’t know what to do, was not aware
- that he needed to get his clothes on, that his clothes were in his backpack. He
was confused when he left his house that night. How do we know this? Brian in
his right mind knows that he has brittle diabetes, and when his blood glucose is
high, his mouth is dry, he is real thirsty and has to urinate a lot. To feel better he
needs insulin shots (1 fast acting at each meal and 1 slow acting daily and_an
extra shot some days when his blood glucose still stays up, The insulin shots if
Brian gets too much exercise or doesn’t eat requiarly causes his glucose to go
way down and causes insulin reactions and sometimes seizures, Brian has dealt
with this since he was 21 months of age (1 year), Brian knows that he has to

have someone close by 24 hours a day just in case his blood glucose goes
down, and this happens in the middle of the night at home. His mom wakes up

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at 4:30 in the morning, sets her alarm at that time every morning to check his

blood glucose which is usually low at that time, and she has to give him some
food/or and a sweet drink. Sometimes he calls her before this time to check his

glucose. With Brian’s OCD, he always uses hand sanitizers. _ This is the first

time as an adult that Brian took off by himself and has been alone for that many
hours day or night. His mom tries to check him every 2 — 3 hours and is close by

in case he needs anything. The combination of brittle diabetes with seizures,
autism, OCD and generalized anxiety, he requires 24 hour care and has from the
time of his birth (He was born 2 months early).

Another thing due to Brian’s autism, when he leaves the house to go anywhere
he takes a larae bag with things he may need for his diabetes or OCD such as

insulin pen (needle) because he requires 4-5 insulin shots per day. He takes his
monitor in case he or someone needs to test his glucose as well as testing
supplies. He always has glucose tabs and sugar snacks or peanut butter
crackers. He takes a small cooler for water, a sugar free drink and a sugar drink.
He doesn’t leave house without his hand sanitizer. These things he always takes
every time he leaves his house. Some days he takes his big camera bag with his
large black Kodak camera inside. If he and his mom are going hiking, he takes a
large back pack with his emergency diabetic supplies and always his hand
sanitizer. When Brian’s mom & grandparents went to the Western Virginia
Regional Jail at 5885 W. River Road in Salem, VA _in_ January, 2019 to pick up

Brian’s things, we picked up a small backpack with Brian’s clothes in it, 2
flashlights and_a watch. There were no diabetic supplies and no hand sanitizer.
His mom did not recognize the back pack. We saw from the NC court records
that the camera the police confiscated was a pink camera. Brian’s grandma gave
Brian her old pink camera years ago, but his family have never seen him use that
camera, just his black Kodak camera. When you research traits of autism as well
as medical & mental effects of carbon monoxide, one can see why Brian was
acting that way that night. Is this considered criminal behavior or is this an
autism emergency as well as carbon monoxide gas exposure emergency? We
have 2 sources of proof that Brian David Hill was out of it on September 21, 2018

 

 

 

as well as one month later and three months later.

First proof is in the Piedmont Community Services records. This is our mental

health agency in Martinsville, VA. On October 24. 2018 Dr. Conrad H Daum, MD
visited Brian in jail. His diagnosis: (F29

 

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Unspecified psychosis not due to a substance or known physiological condition.
Brian has had these diaqnosis for years: F42.9) Obsessive-compulsive

disorder: (F84.0) Autistic disorder and (F41.1) Generalized anxiety disorder. His

medical as recorded are: Brittle diabetes, IBS, Eczemia, Hypoglycemic seizures,
hx. Concussions during seizures.

The next proof was in December 26, 2018 “Order for Psychiatric Evaluation 1226-

48 document from the Roanoke, VA Western District of Virginia court. Where the
court on its own motion finds that there is reasonable cause that the

defendant may be suffering from_a mental defect” by Magistrate Judge, Robert
S. Ballou. This was 3 months after Brian’s last exposure to carbon monoxide
gas in his apartment. He had been exposed to this qas from Oct. 2017 ~ Sept.
20, 2018 (had a bad fall & hospital records showed Sinus Tachycardia, possible
left_atrial enlargement and borderline ECG and high blood cell counts _on Nov,
19, 2017). Even though hospital records show that Brian has diabetes requiring
insulin and Autism (recorded automatically in hospital records), this hospital
emergency room on Sept. 21, 2018 shows no blood test results, not even for his
diabetes glucose. His pulse was 119. The one in November showed his blood
glucose was 489 and his pulse was 118.

Brian_filed_ many documents with the NC Middle District Court with proof

documents about the carbon monoxide and hospital records. These are on
Pacer Case 1:13-cr-00435-TDS Document 181 Filed 07/22/19 Page 1-10 of 10 with
10_ exhibits following that, You can check Pacer Case_1:13-cr-00435-TDS
Document 181-2 Filed 07/22/19 Page 1-2 of 2 for a copy of the letter from the
chimney professional (Elmo Pete Compton of Ace Chimney Company) who
discovered carbon monoxide gas causing the damage in Brian’s apartment_on

January 30, 2019, removed the tin and put a chimney cap up with screen around
the sides.

   

Some other proof documents:

7 PDFs: this letter; Community Services Report Oct 2018: court order from
Roanoke, VA district court Dec. 2018; History of Brian (4 pages): Jetter about

carbon monoxide gas; Jail schedule & Autism in the Criminal Justice System.

photos of the fireplace in Brian’s apartment from carbon monoxide gas with a

copy that Brian sent for his court case in NC from the gentleman who discovered
that someone had covered all 3 holes in their chimney with tin so there was no

 

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place for the gas and water to escape from the gas hot water heater and the gas

boiler/furnace. Brian’s mom told about how it affected both of them in court on
September 12, 2019.

We have some printed photos from the cards and threat mail Brian’s mom
received from December, 2017 until May, 2018. Brian’s mom has the original
cards & threatening letter. She did a video about that on May 26, 2018.

We also have _qraphics and PDF files about autism as well as information about
brittle diabetes and Brian’s other health problems and records from our mental
community services. We have medical PDF’s (hospital Nov. 2017 and hospital
Sept. 2018) etc. in case you would want a copy of these.

Another autistic risk is “Wandering from home”

https:/iwww.webmd.com/brain/10-ways-to-prevent-wandering#1_ Wandering is a
risk associated with many conditions, such as autism spectrum disorder, Down
syndrome, and dementia (which can result from Alzheimer’s disease. stroke,
head injuries, and Parkinson's disease). Whatever the condition, the anxiety for

careqivers is the same.

Brian’s family thought Brian’s leaving his house was due to autism. After

finding out about his exposure to carbon monoxide and that other diseases can
get worse, then we realized that his leaving the house was due to the carbon
monoxide causing his autism and OCD to worsen, but once carbon monoxide
was removed, autism & OCD would not be as severe. The police department in

Virginia and the court system in the middle district of NC_ have chosen to make
this a criminal act with no compassion at all. Our question remains, are

symptoms of autism criminal behavior?

To sum this up, Brian David Hill _has_ brittle diabetes, seizures causing
unconsciousness, autism, OCD, generalized anxiety and at the time of his
leaving his house on Sept. 20, 2018 and adding to these, carbon monoxide
poisoning causing sinus tachycardia and psychosis (medical records from Nov.
2017. Sept. 2018 and Oct. 2018 for proof).

Should someone with developmental disorder (Autism) be punished by our

federal government and spend months in jail or prison due to his disabilities?
Does Virginia courts not recognize autism when it is the cause of someone

leaving his house at night, meeting someone in a hoody who threatens his mom

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if he doesn’t do what this quy orders him to do or his mom would be killed,
especially when no laws were broken & no one else was involved or hurt, He

was not being sexual or obscene but was in the wrong place alone in the nude in
the middle of the night without his diabetic emergency supplies and was taken to
a hospital which also did not take any blood test nor admit him for observation
as the emergency room hospital notes prove that he was diabetic requiring
insulin and has autism. Plus Brian has a disabled placard in his mom’s car due
to autism that impairs judgment which is a permanent developmental disability:

Autism Spectrum Disorder. All of this information was sent to our Martinsville
police department afterwards and was submitted to the federal court in the
Middle District of North Carolina by Brian. We told this to Brian’s attorney who
said that the police don’t have to look at anything that Brian sent to them. Brian
is a citizen of Martinsville, VA who was making sure that the police knew all of
the circumstances as to why he was alone in the nude walking the trails that
night which was abnormal behavior for him and very dangerous for him and with
concerns about threats his mom received. The quy in the hoody should have
been investigated by the police on September 21, 2018. The carbon monoxide

gas should have been investigated by the police as well _as_ the cards &
threatening letter from Nashville, TN with no return addresses that_Brian’s mom
received especially after this person made that threat to Brian about killing
Brian’s mom if Brian didn’t get in the nude and take photos of himself on Sept.
21, 2018 (before the year’s end). If a chimney company put tin over all 3 holes in
the chimney causing carbon monoxide gas from _a gas hot water heater and a
gas _boiler/furnace which went unnoticed for over_a_year, caused physical
damage to Brian, his mom and physical damage to their home, there should
have been an investigation. Did the chimney company put that tin covering all
holes in the chimney or did someone else? Our Martinsville police iqnored this
letter_and did not bother to contact Martinsville citizens: Brian or his mom,
Roberta Ruth Hill about it. Brian’s grandparents (Ken & Stella Forinash) who
also five in Martinsville, VA_and_are witnesses were never questioned by our
Martinsville, VA_police. Instead of investigating, the police arrested and made
Brian their criminal and punished Brian when the Virginia laws clearly state that :
Indecent exposure involves intent, being sexual and obscene which Brian has
proven that he had no intent to be sexual, was not sexual or obscene. He was a

victim of carbon monoxide gas, autism and threats real or imagined that night
not a criminal. NC Transcript from NC Middle District court on September 12,

2019 proves that.

 

 

 

 

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1, Stella B. Forinash, declare pursuant to Title 28 U.S.C. section 1746 under
penalty of perjury under the laws of the United States of America that what | have
written here is true and correct to the best of my knowledge.

Stella B. Forinash
201 Greyson St.
Martinsville, VA 24112

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CLERK'S OFFICE Us
2 . DIST. COURT

KE, VA
FILED

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF VIRGINIA DEC 26 2018
ROANOKE DIVISION JULIA.
BY:
DEPUNYCLERK
UNITED STATES OF AMERICA )
)
Vi ) Criminal No. 7:18-mj-00149
)
BRIAN DAVID HILL
ORDER

This matter came before this Court on 12/26/2018, pursuant to a Petition for Revocation
under supervised release from the Middle District of North Carolina. The court, on it’s own
motion, finds that there is reasonable cause to believe that defendant may be suffering from a
mental defect rendering him mentally incompetent to the extent that he is unable to understand
the nature and consequences of the proceeding against him or to assist properly in his defense.
The Court also finds that it is necessary to determine the existence of insanity at the time of the
offense.

Therefore, it is hereby ORDERED pursuant to Title 18, United States Code, Sections
4241(b) and 4242(a), that the defendant, Brian David Hill , be committed to the custody of the
Attorney General for a period not to exceed forty-five (45) days in accordance with Title 18,
United States Code, Section 4247(b) and (c). This Court recommends to the Attorney General
the facility at Federal Correctional Institution, Butner, North Carolina for hospitalization and
treatment. Furthermore, the United States Marshal shall transport defendant to a suitable facility
when sufficient space for defendant becomes available.

Upon the completion of the examination, the examining psychiatrist/psychologist shall
report his/her findings to the Court with a copy thereof to Randy Cargill, counsel for the

defendant, Federal Public Defenders Office, Suite 420, 210 First Street SW, Roanoke VA

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24011; and Kari Munro, Assistant U. S. Attorney, 310 First Street, SW, Room 906, Roanoke,
VA 24011; as to the following matters pursuant to Title 18, United States Code, Section 4247(c),
and shall include information as directed in Title 18, United States Code, Section 4247(c)(1), (2),
(3), (4)(A) and (B): 1) defendant's history and present symptoms; 2) a description of the
psychiatric, psychological, and medical tests that were employed and their results; 3) the
examiner's findings; and 4) the examiner's opinions as to diagnosis, prognosis; whether the
person is suffering from a mental disease or defect rendering him mentally incompetent to the
extent that he is unable to understand the nature and consequences of the proceedings against
him or to assist properly in his defense; and whether the defendant was insane at the time of the
offense charged. The United States Marshal shall arrange for return transport from the facility to
this division upon being notified by the facility that it has completed its evaluation.

The Clerk of this Court shall certify a copy of this Order to each of the following: United
States Marshal, Western District of Virginia, Roanoke, Virginia; Randy Cargill, counsel for the
defendant; Kari Munro, Assistant U. S. Attorney, Roanoke, VA; and U. S. Probation Office,

Roanoke, Virginia.

Enter: r2fr2efrere

Lebt hii

Robert S. Ballou
United States Magistrate Judge

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PIEDMONT COMMUNITY SERVICES

 

 

 

 

 

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Piedmont Community Services
@ 13 MOSS ST SOUTH
MARTINSVILLE, VA 24112
Client Name: BRIAN HILL SSN/Acct # 591980319 / 174826
Address: 310 FOREST ST APT 2 MARTINSVILLE VA 24112- Date/Time: 10/24/2018 9:51 AM to 10:23
4939 AM
Insurance: Employee Name: CONRAD DAUM / MD
Diagnosis: Visit Type/CPT Med Note [Jail] / Nonbill
DOB 5/26/1990
Notes: Non-Face-to-Face Service
HISTORY

Chief Complaint: Notes:

"guy in hodie threatened to kill my mother if | didn't do what he said" "meltdown" He was arrested for walking down
the street naked and charged with a probation violation.

History of Present Illness (HPI): Notes:

local is mental, quality he agreed to zyprexa and zoloft. severity moderate, duration 1st admit 2013 ONLY, time of tx
start here 2013, context jail inmate. associated he was convicted for child porn and is on sex registry. He believes he
was convicted unfairly by a conspiracy of the court officials. He believes Critical documents proving his innocence
were deliberately destroyed. Modify is tx accepted, ills see med hx.

Past Medical / Family Medical / Social Hx: .

LEGAL HX: He would only discuss the child pron and probation violation convictions.

PSYCH HX: He tried suicide, but no family hx, he denied wanting to harm self or others the past month. He denied
any SUD or tobacco, Hx autism, OCD, GAD

MEDICAL Hx: Diabetes, IBS, Eczema, op only wisdom teeth, no fx hx, hypoglycemic seizures, hx concussions during
seizures.

FAMILY HX: 0 kids, 1/2 sisters=2, 0 brothers, mom living, dad hx unknown no hx of inpatient , SUD, jail. Hx
Hypertension, ulcerative colitis,

SOCIAL HX: born Orlando FL, raised NC, some HS, single, no church, on disability, lives alone with caretaker's help.

Review of Symptons (ROS)

Constitutional: Notes:

sleeping ok

Eyes: Notes:

see ok

Ears, Nose, Mouth, Throat: Notes:
hear ok

Cardiovascular: Notes:
no chest pain

 

 

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Respiratory: Notes:
breathing ok

Musculoskeletal: Notes:
no LBP

Integumentary (skin and/or breast): Notes:
no tattoos

Neurological: Notes:
seizure hx and diabetic foot neuropathy

Endocrine: Notes:
diabetes

Hematologic/Lymphatic: Notes:
no nodes

Allergic/immunologic: Notes:
allergy see list

Genitourinary: Notes:
bladder frequency

Gastrointestinal: Notes:
GERD SX, episodic diarrhea

EXAM
Constitutional Vital Signs:

Musculoskeletal

Muscle strength and tone: Notes
ok

Gait and station: Notes
ok

 

 

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Behavior

Appearance: Well-groomed
Activity: Normal

Attitude: Cooperative

Articulation (Speech): Normal Rate, Rhythm, Volume
Sensorium

Consciousness: Alert

Orientation: Full

Memory: Intact
Attention/Concentration: Adequate
Emotion

Affect: Comfortable and Reactive
Mood: Euthymic

Congruency: Congruent

Suicidal Ideation: None
Homicidal Ideation: None
Thought

Thought Process: Goal-directed
Thought Content: Delusional
Intelligence: Average

(based upon fund of knowledge, comprehension, and vocabulary)
Insight: Full

Judgement: Intact

Perception: Normal

Impression

Brief summary of present status of case: Notes
aims=0

DIAGNOSES
Current Diagnoses:

Effective Date : 10/24/2018
1 (F42.9) Obsessive-compulsive disorder, unspecified

Diagnosed By : Diagnosed Date :
Onset Date : Previous Onset Date :
Onset Prior to Admission:
R/O: No
Notes:
Date Updated: 03/21/2017
SNOMED: -
2 (F84.0) Autistic disorder
Diagnosed By : Diagnosed Date :
Onset Date : Previous Onset Date :
Onset Prior to Admission:
R/O: No
Notes:
Date Updated: 03/02/2016
SNOMED: -

3 (F29) Unspecified psychosis not due to a substance or known physiological condition
Diagnosed By : Diagnosed Date :

Onset Date : Previous Onset Date :
Onset Prior to Admission:

R/O: No

Notes:

 

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Date Updated: 10/24/2018

SNOMED: -
4 (F41.1) Generalized anxiety disorder
Diagnosed By : Diagnosed Date :
Onset Date : Previous Onset Date :
Onset Prior to Admission:
R/O: No
K Notes: BRITTLE DIABETES
Date Updated: 10/24/2018
SNOMED: -

WHODAS 2.0 General Disability Assessment Date:
Raw Score: Avg Score:

Cognition:

Mobility:

Self-care:

Getting along:

Life activities:

Participation:

Psych Diagnoses & Status

Diagnosis: all

Status: Stable

Medical Diagnoses & Status
COLUMBIA ASSESSMENT

1) Wished to be Dead:
Have you wished you were dead or wished you could go to sleep and not wake up?: No

2) Suicidal Thoughts:
Have you actually had any thoughts of killing yourself?: No

6) Suicidal Behavior Question:
Have you ever done anything, started to do anything, or prepared to do anything to end your life?: Yes

Was this within the past three months? (please explain): No
SUMMARY

Service Modality: Non-Face-to-Face Service

Current Medications:

Medication:insulin aspart U-100 100 unit/mL subcutaneous solution
Start Date: 10/24/2018

Dosage:

Frequency:

Medication:olanzapine 2.5 mg tablet

Start Date: 10/24/2018
Sig:Take 1 Caplet By Oral Route 1 time at bedtime for mood swings

Medication:sertraline 50 mg tablet
Start Date: 10/24/2018
Sig:Take 1 Caplet By Oral Route 1 time after breakfast for anxiety

Plan
Medication Changes: .

Next Appointment: Date
prn

E/M Level: 5
E/M Score: 5

 

 

 

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Employee Signature

Ck hum m2

10/24/18 2:51 PM
CONRAD DAUM - MD

CMR ror Mp

Supervisor's Signature
Approved by CDAUM on 10/24/18
CONRAD DAUM, MD, MD

 

 

 

 

 

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8Z1LL-ZE9 (9LZ) - ZL LZ
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